244 F.3d 960 (D.C. Cir. 2001)
    Jennifer K. Harbury, on her own behalf and as administratrix of the Estate of Efrain Bamaca-Velasquez, Appellantv.John M. Deutch, Director, Central Intelligence Agency (CIA), et al., Appellees
    No. 99-5307
    United States Court of Appeals FOR THE DISTRICT OF COLUMBIA CIRCUIT
    Filed April 6, 2001
    
      Before:  Edwards, Chief Judge; Stephen F. Williams, Ginsburg, Sentelle, Karen LeCraft, Henderson, Randolph, Rogers, Tatel and Garland, Circuit Judges.
      A statement of Circuit Judge HENDERSON dissenting from the denial of rehearing en banc, joined by Circuit Judge SENTELLE, is attached.
      Circuit Judge GARLAND did not participate in this matter.
      O R D E R
      Per Curiam:
    
    
      1
      Appellees' petition for rehearing en banc and the response thereto have been circulated to the full court. The taking of a vote was requested. Thereafter, a majority of the judges of the court in regular active service did not vote in favor of thepetition. Upon consideration of the foregoing, it is
    
    
      2
      ORDERED that the petition be denied.
    
    
      3
      Karen LeCraft Henderson, Circuit Judge, with whom  Sentelle, Circuit Judge, joins, dissenting:
    
    
      4
      I dissent from the denial of rehearing en banc because  Harbury suffered no constitutional deprivation or, alternatively, if she did, the individual defendants are entitled to qualified immunity from liability therefor.  As the panel opinion  notes, to state a claim Harbury must allege that the defendants' misrepresentations and nondisclosures foreclosed her  " 'from effectively seeking adequate legal redress,' " Harbury  v. Deutch, 233 F.3d 596, 609 (D.C. Cir. 2000) (quoting Complaint p 98).  Yet Harbury has nowhere identified what "legal  redress" might have been adequate to save her husband. Her claim on appeal that but for the government's deception  she "could have sought an emergency injunction based on an  underlying tort claim for intentional infliction of emotional  distress," id., does not fill the bill.  No United States court  could reach the alleged tortfeasors, Guatemalan nationals on  Guatemalan soil, in order to prevent their killing Harbury's  husband, another Guatemalan national.  While Harbury may  not be required to plead "a strict causal showing of exactly  what relief [she] would have obtained in court had defendants  not concealed the truth," she must nevertheless "establish  that the concealment was a substantial cause of [her] failure  to obtain judicial relief."  Bell v. City of Milwaukee, 746 F.2d  1205, 1263 n.72 (7th Cir. 1984).  She has not.  The only cause  is the absence of any effective relief.  "I do not believe the  Court does a [party] a favor by giving it an opportunity to  expend resources in litigation that has no chance of success." South Carolina v. Regan, 465 U.S. 367, 403 (1984) (Stevens,  J., dissenting).
    
    
      5
      Even had Harbury made a colorable claim, the individual  government defendants would be entitled to qualified immunity because reasonable officials in their positions could have  believed that under established law their actions did not  violate Harbury's constitutional right of access to the courts. In cases from other circuits finding such a right was violated,  the plaintiffs alleged that the defendant state officials, police  officers or prosecutors, covered up murders by other such  officials in order to prevent the plaintiffs from pursuing  wrongful death actions.  See, e.g., Bell, supra;  Ryland v. Shapiro, 708 F.2d 967, 972 (5th Cir. 1983).  In this case, by  contrast, Harbury contends the National Security Council and  the State Department covered up her husband's captivity by  foreign nationals on foreign soil in order to keep her from  obtaining relief in a United States court that would prevent  her husband's subsequent murder on foreign soil at the hands  of the foreign nationals.  The defendants plainly were not on  notice that such very different conduct might violate Harbury's right of access to the courts.  See Butera v. District of  Columbia, 235 F.3d 637, 646 (D.C. Cir. 2001) ("A constitutional right was 'clearly established' at the time of the events in  question only if '[t]he contours of the right [were] sufficiently  clear that a reasonable officer would understand that what he  [was] doing violate[d] that right.' ") (quoting Anderson v.  Creighton, 483 U.S. 635, 640 (1987)) (citing Harris v. District  of Columbia, 932 F.2d 10, 13 (D.C. Cir. 1991);  Martin v.  Malhoyt, 830 F.2d 237, 253 (D.C. Cir. 1987)).
    
    